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U.S. Department of Justice

Matthew M. Graves
United States Attorney

 

District of Columbia

 

Patrick Henry Building
60) D Street, NW.
Washington DC, 20530

May 8, 2023

Ubong Akpan, Esq.
Elizabeth Mullin, Esq.

Re: United States vy. Sheldon Marbley
Criminal Case No. 22-cr-93

Dear Counsel Akpan and Mullin:

This letter sets forth the full and complete plea offer to your client, Sheldon Marbley,
hereinafter referred to as “your client” or “defendant”), from the Office of the United States
Attorney for the District of Columbia (hereinafier also referred to as “the Government” or “this
Office”). This plea offer expires on May 23, 2023. If your client accepts the terms and
conditions of this offer, please have your client execute this document in the space provided
below. Upon receipt of the executed document, this letter will become the Plea Agreement
(hereinafter referred to as “this Agreement”). The terms of the offer are as follows:

it Charges and Statutory Penalties

Your client agrees to plead guilty to the Superseding Indictment, charging your client
with one count of Conspiracy to Distribute and Possess with Intent to Distribute Para-
Fluorofentanyl and Cocaine, in violation of Title 21, United States Code, Section 846; two
counts of Unlawful Distribution of Para-Fluorofentany! and Cocaine Resulting in Serious Bodily
Injury' and Aiding and Abetting, in violation of Title 21, United States Code, Sections 841(a)(1)
and 841(b)(1)(C) and Title 18, United States Code, Section 2; and two counts of Unlawful
Distribution of Para-Fluorofentany! and Cocaine Resulting in Death and Aiding and Abetting, in
violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C) and Title 18,
United States Code, Section 2.

 

* Although the Indictment reads “serious bodily injury” the superseding indictment inadvertently
states “substantial bodily injury”. As outlined in the Statement of Offense, the parties agree that

“serious bodily injury” occurred in this case. The parties also agree that there is no material
defect in the Indictment or Superseding Indictment.

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Your client understands that a violation of Title 21, United States Code, Section 846
(Count I - Conspiracy), carries a maximum sentence of 20 years of imprisonment; a fine not to
exceed the greater of that authorized in accordance with the provisions of Title 18 or $1,000,000;
a term of supervised release of not less than 3 years and up to life; an obligation to pay any
applicable interest or penalties on fines and restitution not timely made.

Your client understands that a violation of Title 21, United States Code, Sections
841(a)(1) and 841(b)(1)(C) (Counts 1] through V, serious injury or death resulting), carries a.
mandatory minimum sentence of 20 years of imprisonment and a maximum sentence of life; a
fine not to exceed the greater of that authorized in accordance with the provisions of Title 18 or
$1,000,000; a term of supervised release of not less than 3 years and up to life; mandatory
restitution under 18 U.S.C. § 3663A(c)(1)(B); and an obligation to pay any applicable interest or
penalties on fines and restitution not timely made.

In addition, your client agrees to pay a special assessment of $100 per felony conviction
to the Clerk of the United States District Court for the District of Columbia. Your client also
understands that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States Sentencing
Commission, Guidelines Manual (2018) (hereinafter “Sentencing Guidelines,” “Guidelines,” or
“U.S.S.G.”), the Court may also impose a fine that is sufficient to pay the federal government the
costs of any imprisonment, term of supervised release, and period of probation. Further, your
client understands that, if your client has two or more convictions for a crime of violence or
felony drug offense, your client may be subjcct to the substantially highcr penaltics provided for
in the career-offender statutes and provisions of the Sentencing Guidelines.

2. Factual Stipulations

Your client agrees that the attached “Proffer of Evidence” fairly and accurately describes
your client's actions and involvement in the offense(s) to which your client is pleading guilty.
Please have your client sign and return the Proffer of Evidence as a written proffer of evidence,
along with this Agreement.

3. Additional Charges

In consideration of your client's guilty plea to the above offense(s), your client will not
be further prosecuted criminally by this Office for the conduct set forth in the attached Proffer of
Evidence. After the entry of your client's plea of guilty to the offense(s) identified in paragraph
1 above, your client will not be charged with any non-violent criminal offense in violation of
Federal or District of Columbia law which was committed within the District of Columbia by
your client prior to the execution of this Agreement and about which this Office was made aware
by your client prior to the execution of this Agreement. However, the United States expressly
reserves its right tu prosecute your client for any crime of viulence, as defined in 18 U.S.C. § 16
and/or 22 D.C. Code § 4501, if in fact your client committed or commits such a crime of
violence prior to or after the execution of this Agreement.

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4. Agreed Sentence Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C)

Pursuant to Rule 11(c){1)(C) of the Federal Rules of Criminal Procedure, your clicnt and
the Government agree that a sentence of 240 months (20 years) of incarceration, followed by 3
years of supervised release. is the appropriate sentence for the offense(s) to which your client is
pleading guilty. This Agreement with respect to the appropriate sentence affects only the term of
incarceration and supervised release. The Court may impose other applicable statutory
provisions as part of the sentence, including specifically fines and other conditions of supervised
release.

A. Acceptance of Agreement by the Court

The Government agrees, pursuant to Rule 11(c)(1)(C), to present this Agreement between
the parties to the Court for its approval. In accordance with Rule 1 1(c)(4) and (5), the Court may
accept or reject this Agreement. If the Court accepts this Agreement, the Court will sentence
your client to 240 months (20 incarce ears of supervised release.
Your client Taderstoeds that ithe Court asstpe this Agreement Thee she Cour aT Smog in
the judgment and sentence the disposition provided for in this Agreement, pursuant to Rule
11(c)(4) of the Federal Rules of Criminal Procedure.

B. Rejection of this Agreement by the Court:
a

The parties understand that the Court may not agree that the sentence agreed to by the
parties is an appropriate one and may reject this Agreement pursuant to Rule 1 1(c)(5) of the
Federal Rules of Criminal Procedure. Your client understands that if this happens, the Court, in
’ accordance with the requirements of Rule 11(c)(5), will inform the parties of its rejection of this
Agreement, and will afford your client an opportunity to withdraw the plea or maintain the plea.
If your client elects to maintain the plea the Court wil tilormr your cleat that a final disposition
may be less favorable to your client than that contemplated by this Agreement. Your client
further understands that if the Court rejects this Agreement, the Government also has the right to
withdraw from this Agreement and to be freed from all obligations under this Agreement, and

may in its sole discretion bring different or additional charges before your client enters any guilty
plea in this case.

If the Court rejects this Agreement, your client elects to maintain this plea, and the
Government does not exercise its right to withdraw from this Agreement, the parties agree that
your client will be sentenced upon consideration of the factors set forth in 18 U.S.C. § 3553(a)
and the Sentencing Guidelines. Your client further understands that, in such case, the sentence to
be imposed is a matter solely within the discretion of the Court, and the Court is not obligated to
impose a sentence within the Sentencing Guidelines range or to follow any recommendation of
the Government at the time of sentencing.

»§& Sentencing Guidelines Analysis

In accordance with Paragraph 4 above, your client understands that, but for the above
described agreed sentence pursuant to Rule 11(c)(1)(C), the sentence in this case would be

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determined by the Court, pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a
consideration of the Sentencing Guidelines and policies promulgated by the Sentencing
Guidelines. Pursuant to Federa] Rule of Criminal Procedure !1(c)(1)(B), and to assist the Court
in determining the appropriate sentence, the parties agree to the following:

A. Estimated Offense Level Under the Guidelines

Your client agrees and will acknowledge at the time of the plea of guilty to the offense
stated above that, pursuant to U.S.S.G. § 1B1.3, your client is accountable for conspiring to
distribute a mixture and substance containing a detectable amount of para-fluorofentanyl and
cocaine, and distributing a mixture and substance containing a detectable amount of para-
fluorofentanyl and cocaine, resulting in serious bodily injury to two victims and death to two
victims, which represents your client’s relevant criminal conduct pursuant to jointly undertaken
criminal activity that was reasonably foreseeable by your client and within the scope of your
client’s conspiratorial agreement.

The parties agree that the following Sentencing Guidelines sections apply:

U.S.S.G. § 2D1.1(a)(2) Base Offense Level

Total 38
Acceptance of Responsibility

The Government agrees that a 2-level reduction wil] be appropriate, pursuant to U.S.S.G.
§ 3E1.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client’s allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence. Furthermore,
assuming your client has accepted responsibility as described in the previous sentence, the
Government agrees that an additional 1-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1(b), because your client has assisted authorities by providing timely notice of your
client’s intention to enter a plea of guilty, thereby permitting the Government to avoid preparing
for trial and permitting the Court to allocate its resources efficiently.

Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any
agreement set forth above, should your client move to withdraw your client’s guilty plea after it
is entered, or should it be determined by the Government that your client has either (a) engaged
in conduct, unknown to the Government at the time of the signing of this Agreement, that
constitutes obstruction of justice, or (b) engaged in additional criminal conduct after signing this
Agreement.

In accordance with the above, the Estimated Offense Level will be at least 35.

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B. Estimated Criminal History Category

Based upon the information now available to this Office (including the Pre-Plea Criminal
History Calculation, your client has at least the following criminal convictions: Voluntary
- Manslaughter (1996 FEL 000146) (not less than 5 years, nor more than 15 years’ incarceration).

Accordingly, your client is estimated to have 3 criminal history points and your client's
Criminal History Category is estimated to be 1] (the “Estimated Criminal History Category”).
Your client acknowledges that after the. pre-sentence investigation by the United States Probation
Office, a different conclusion regarding your client’s criminal convictions and/or criminal history
points may be reached and your client’s criminal history points may increase or decrease.

Cc. Estimated Guidelines Range

Based upon the Estimated Offense Level and the Estimated Cyimii ptegory
set forth above, your client’s estimated Sentencing Guidelines range i418 4 aH O y
months (the “Estimated Guidelines Range”). However, pursuant to 21 DS.C_TRIMPHAC) |
there is a mandatory minimum sentence of 240 months (20 years) because death or serious
bodily injury resulted for the conduct charged in Counts II through V. In addition, the parties
agree that, pursuant to U.S.S.G. § 5E1.2, should the Court impose a fine, at Guidelines level 35,

the estimated applicable fine range is $40,000 to $400,000. Your client reserves the right to ask
the Court not to impose any applicable fine.

 
  

The parties agree that, solely for the purposes of calculating the applicable range under
the Sentencing Guidelines, neither a downward nor upward departure from the Estimated
Guidelines Range set forth above is warranted. Except as provided for in the “Reservation of
Allocution” section below, the parties also agree that neither party will seek any offense-level
calculation different from the Estimated Offense Level calculated above in subsection A.
However, the parties are free to argue for a Criminal History Category different from that
estimated above in subsection B.

Your client understands and acknowledges that the Estimated Guidelines Range
calculated above is not binding on the Probation Office or the Court. Should the Court or
Probation Office determine that a guidelines range different from-the Estimated Guidelines
Range is applicable, that will not be a basis for withdrawal or recission of this Agreement by

either party.

Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

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6. Court Not Bound by this Agreement or the Sentencing Guidelines (applicable
only when Rule 11(c)(1)(C) plea is rejected)

In accordance with Paragraph 4 above, should the Court reject this Agreement, your
client elect to maintain the plea, and the Government fail to exercise its right to withdraw from
this Agreement, the parties further agree that a sentence within the Estimated Guidelines Range
would constitute a reasonable sentence in light of all of the factors set forth in 18 U.S.C. §
3553(a), should such a sentence be subject to appellate review notwithstanding the appeal waiver
provided below. Nevertheless, your client reserves the right to seek a sentence below the
Estimated Guidelines Range based upon factors to be considered in imposing a sentence
pursuant to 18 U.S.C. § 3553(a). -

Your client understands that should the Court reject this Agreement, your client elect to
maintain the plea, and the Government fail to exercise its right to withdraw from this Agreement,
the sentence in this case will be imposed in accordance with 18 U.S.C. § 3553(a), upon
consideration of the Sentencing Guidelines. Your client further understands that the sentence to
be imposed is a matter solely within the discretion of the Count. Your client acknowledges that
the Court is not obligated to follow any recommendation of the Government at the time of
sentencing. Your client understands that neither the Government’s recommendation nor the
Sentencing Guidelines are binding on the Court.

Your client acknowledges that should the Court reject this Agreement, your client elect to
maintain the plea, and the Government fail to exercise its right to withdraw from this Agreement,
your client’s entry of a guilty plea to the charged offense(s) authorizes the Court to impose any
sentence, up to and including the statutory maximum sentence, which may be greater than the
applicable Guidelines range. The Government cannot, and does not, make any promise or
representation as to what sentence your client will receive should the Court reject this
Agreement, your client elect to maintain the plea, and the Government fail to exercise its right to
withdraw from this Agreement. Moreover, it is understood that your client will have no right to
withdraw your client’s plea of guilty should the Court impose a sentence that is outside the
Guidelines range or if the Court does not follow the Government’s sentencing recommendation.

7. Reservation of Allocution

The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct,
including any misconduct not described in the charges to which your client is pleading guilty, to
inform the presentence report writer and the Court of any relevant facts, to dispute any factual
inaccuracies in the presentence report, and to contest any matters not provided for in this
Agreement. The parties also reserve the right to address the correctness of any Sentencing
Guidelines calculations determined by the presentence report writer or the court, even if those
calculations differ from the Estimated Guidelines Range calculated herein. In the event that the
Court or the presentence report writer considers any Sentencing Guidelines adjustments,
departures, or calculations different from those agreed to and/or estimated in this Agreement, or
contemplates a sentence outside the Guidelines range based upon the general sentencing factors
listed in 18 U.S.C. § 3553(a), the parties reserve the right to answer any related inquiries from

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the Court or the presentence report writer and to allocute for a sentence within the Guidelines
range, as ultimately determined by the Court, even if the Guidelines range ultimately determined
by the Court is different from the Estimated Guidelines Range calculated herein.

In addition, if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the parties reserve the
right to full allocution in any post-sentence litigation. The parties retain the full right of
allocution in connection with any post-sentence motion which may be filed in this matter and/or
any proceeding(s) before the Bureau of Prisons. In addition, your client acknowledges that the
Government is not obligated and does not intend to file any post-sentence downward departure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

8. Conditions of Release

Your client acknowledges that, because your client is pleading guilty to an offense
described in subparagraph (A), (B), or (C) of 18 U.S.C. § 3142(f)(1), the Court is required to
order your client to be detained pending sentencing pursuant to 18 U.S.C. § 3143(a)(2).

9. Waivers
A. Statute of Limitations

Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Proffer of Evidence, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the
Government has agreed not to prosecute or to dismiss at sentencing pursuant to this
Agreement)may be commenced or reinstated against your client, notwithstanding the expiration
of the statute of limitations between the signing of this Agreement and the commencement or
reinstatement of such prosecution. It is the intent of this Agreement to waive all defenses based
on the statute of limitations with respect to any prosecution of conduct set forth in the attached
Proffer of Evidence that is not time-barred on the date that this Agreement is signed.

B. Trial Rights

Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to plead not guilty, and the right to a jury trial. If there were a jury
trial, your client would have the right to be represented by counsel, to confront and cross-
examine witnesses against your client, to challenge the admissibility of evidence offered against
your client, to compel witnesses to appear for the purpose of testifying and presenting other
evidence on your client’s behalf, and to choose whether to testify. If there were a jury trial and
your client chose not to testify at that trial, your client would have the right to have the jury
instructed that your client’s failure to testify could not be held against your client. Your client

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would further have the right to have the jury instructed that your client is presumed innocent
until proven guilty, and that the burden would be on the United States to prove your client’s guilt
beyond a reasonable doubt. If your client were found guilty after a trial, your client would have
the right to appeal your client’s conviction. Your client understands that the Fifth Amendment to
the Constitution of the United States protects your client from the use of self-incriminating
statements in a criminal prosecution. By entering a plea of guilty, your client knowingly and
voluntarily waives or gives up your client’s right against self-incrimination.

Your client acknowledges discussing with you Rule 1 1(f) of the Federal Rules of
Criminal Procedure and Rute 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily waives the
rights that arise under these rules in the event your client withdraws your client’s guilty plea or
withdraws from this Agreement after signing it.

Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the parties with the concurrence of the Court. Your client understands that the
date for sentencing will be set by the Court.

Cc. Appeal Rights

Your client agrees to waive, insofar as such waiver is permitted by law, the right to
appeal the conviction in this case on any basis, including but not limited to claim(s) that (1) the
Statute(s) to which your client is pleading guilty is unconstitutional, and (2) the admitted conduct
does not fall within the scope of the statute(s). Your client understands that federal law,
specifically 18 U.S.C. § 3742, affords defendants the right to appeal their sentences in certain
circumstances. Your client also agrees to waive the right to appeal the sentence in this case,
including but not limited to any term of imprisonment, fine, forfeiture, award of restitution, term
or condition of supervised release, authority of the Court to set conditions of release, and the
manner in which the sentence was determined, except to the extent the Court sentences your
client above the statutory maximum or guidelines range determined by the Court. In agreeing to
this waiver, your client is aware that your client’s sentence has yet to be determined by the
Court. Realizing the uncertainty in estimating what sentence the Court ultimately will impose,
your client knowingly and willingly waives your client's right to appeal the sentence, to the
extent noted above, in exchange for the concessions made by the Government in this Agreement.
Notwithstanding the above agreement to waive the right to appeal the conviction and sentence,
your client retains the right to appeal on the basis of ineffective assistance of counsel, but not to
raise on appeal other issues regarding the conviction or sentence.

D. Collateral Attack
Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in

which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a

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motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C.
§ 3582(c).

10. Use of Self-Incriminating Information

The Government and your client agree, in accordance with U.S.S.G. § 1B1.8, that the
Government will be free to use against your client for any purpose at the sentencing in this case
or in any related criminal or civil proceedings, any self-incriminating information provided by
your client pursuant to this Agreement or during the course of debriefings conducted in
anticipation of this Agreement, regardless of whether those debriefings were previously covered
by an “off the record” agreement by the parties.

11. Restitution

Your client understands that the Court has an obligation to determine whether, and in
what amount, mandatory restitution applies in this case under 18 U.S.C. § 3663A at the time of
sentencing.

Payments of restitution shall be made to the Clerk of the Court. In order to facilitate the
collection of financial obligations to be imposed in connection with this prosecution, your client
agrees to disclose fully all assets in which your client has any interest or over which your client
exercises control, directly or indirectly, including those held by a spouse, nominee or other third
party. Your client agrees to submit a completed financial statement on a standard financial
disclosure form which has been provided to you with this Agreement to the Financial Litigation
Unit of the United States Attorney’s Office, as it directs. If you do not receive the disclosure
form, your client agrees to request one from usadc.ecfflu@usa.doj.gov. Your client will complete
and electronically provide the standard financial disclosure form to usadc.ecfflu@usa.doj.gov 30
days prior to your client’s sentencing. Your client agrees to be contacted by the Financial
Litigation Unit of the United States Attorney’s Office, through defense counsel, to complete a
financial statement. Upon review, if there are any follow-up questions, your client agrees to
cooperate with the Financial Litigation Unit. Your client promises that the financial statement
and disclosures will be complete, accurate and truthful, and understands that any willful
falsehood on the financial statement could be prosecuted as a separate crime punishable under 18
U.S.C. § 1001, which carries an additional five years’ incarceration and a fine.

Your client expressly authorizes the United States Attorney’s Office to obtain a credit
report on your client in order to evaluate your client’s ability to satisfy any financial obligations
imposed by the Court or agreed to herein.

Your client understands and agrees that the restitution or fines imposed by the Court will
be due and payable immediately and subject to immediate enforcement by the United States. If
the Court imposes a schedule of payments, your client understands that the schedule of payments
is merely a minimum schedule of payments and will not be the only method, nor a limitation on
the methods, available to the United States to enforce the criminal judgment. If your client is
sentenced to a term of imprisonment by the Court, your client agrees to participate in the Bureau

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of Prisons’ Inmate Financial Responsibility Program, regardless of whether the Court
specifically imposes a schedule of payments.

Your client certifies that your client has made no transfer of assets in contemplation of
this prosecution for the purpose of evading or defeating financial obligations that are created by
this Agreement and/or that may be imposed by the Court. In addition, your client promises to
make no such transfers in the future until your client has fulfilled the financial obligations under
this Agreement.

12. Forfeiture

(a) Your client agrees to the forfeiture set forth in the Forfeiture Allegation in the
Superseding Indictment to which fs is pleading guilty and entry of a forfeiture money judgment
consistent with her criminal conduct

(b) Your client agrees that the proffer of evidence supporting your client’s guilty plea
is sufficient evidence to support this forfeiture. The United States and your client agree that the
Court will enter a Preliminary Consent Order of Forfeiture at the time of your client’s guilty plea
or at any time before sentencing. Your client agrees that the Court will enter a Final Order of
Forfeiture for this property as part of her sentence.

(c) Yourclient agrees that this plea agreement permits the Government to seek to
forfeit any of your client’s assets, real or personal, that are subject to forfeiture under any federal
statute, whether or not this agreement specifically identifies the asset. Regarding any asset or
property, your client agrees to forfeiture of all interest in: (1) any property constituting, or
derived from, any proceeds your client obtained, directly or indirectly, as the result of the
violation to which she is pleading guilty; (2) any of your client’s property used, or intended to be
used, in any manner or part, to commit, or to facilitate the commission of, such violation; and
(3) any substitute assets for property otherwise subject to forfeiture. See 21 U.S.C. § 853.

(d) Your client agrees that the government may choose in its sole discretion how it
wishes to accomplish forfeiture of the property whose forfeiture your client has consented to in
this plea agreement, whether by criminal or civil forfeiture, using judicial or non-judicial
forfeiture processes. If the government chooses to effect the forfeiture provisions of this plea
agreement through the criminal forfeiture process, your client agrees to the entry of orders of
forfeiture for such property and waives the requirements of Federal Rule of Criminal Procedure
32.2 regarding notice of the forfeiture in the charging instrument, announcement of the forfeiture
at sentencing, and incorporation of the forfeiture in the judgment. Your client understands that
the forfeiture of assets is part of the sentence that may be imposed in this case.

(e) Your client agrees to take all necessary actions to identify all assets over which
your client exercises or exercised control, directly or indirectly, at any time since January 2022,
or in which your client has or had during that time any financial interest. Your client will
complete and provide to the undersigned Assistant United States Attorney a standard financial
disclosure form, which has been provided to you with this plea agreement, within 10 days of the
execution of this plea agreement. Your client agrees to take all steps as requested by the

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Government to obtain from any other parties by any lawful means any records of assets owned at
any time by your client. Your client agrees to provide and/or consent to the release of your
client’s tax returns for the previous five years. Your client agrees to take all steps as requested by
the Government to pass clear title to forfeitable interests or to property to the United States and
to testify truthfully in any judicial forfeiture proceeding.

(f) Your client agrees to waive all constitutional and statutory challenges in any
manner (including, but not limited to, direct appeal) to any forfeiture carried out in accordance
with this plea agreement on any grounds, including that the forfeiture constitutes an excessive
fine or punishment.

13. Breach of Agreement

Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client's obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will
have breached this Agreement. In the event of such a breach: (a) the Government will be free
from its obligations under this Agreement; (b) your client will not have the right to withdraw the
guilty plea; (c) your client will be fully subject to criminal prosecution for any other crimes,
including perjury and obstruction of justice; and (d) the Government will be free to use against
your client, directly and indirectly, in any criminal or civil proceeding, all statements made by
your clicnt and any of the information or matcrials provided by your client, including such
statements, information and materials provided pursuant to this Agreement or during the course
of any debriefings conducted in anticipation of, or after entry of, this Agreement, whether or not
the debriefings were previously characterized as “off-the-record” debriefings, and including your.
client’s statements made during proceedings before the Court pursuant to Rule 11 of the Federal
Rules of Criminal Procedure.

Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance of the evidence, except where such breach is
based on a violation of federal, state, or local criminal law, which the Government need prove
only by probable cause in order to establish a breach of this Agreement.

Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from
- prosecution for any crimes not included within this Agreement or committed by your client after
the execution of this Agreement. Your client understands and agrees that the Government
reserves the right to prosecute your client for any such offenses. Your client further understands
that any perjury, false statements or declarations, or obstruction of justice relating to your client’s
_ obligations under this Agreement shall constitute a breach of this Agreement. In the event of
such a breach, your client will not be allowed to withdraw your client’s guilty plea.

‘14. Complete Agreement

No agreements, promises, understandings, or representations have been made by the
parties or their counsel other than those contained in writing herein, nor will any such

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agreements, promises, understandings, or representations be made unless committed to writing
and signed by your client, defense counsel, and an Assistant United States Attomey for the
District of Columbia.

Your client further understands that this Agreement is binding only upon the Criminal
and Superior Court Divisions of the United States Attorney’s Office for the District of Columbia.
This Agreement does not bind the Civil Division of this Office or any other United States
Attorney’s Office, nor does it bind any other state, local, or federal prosecutor. It also does not
bar or compromise any civil, tax, or administrative claim pending or that may be made against
your client.

If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Proffer of Evidence, and returning both to me no later than May
19, 2023.

Sincerely yours,

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beg bo PDE

Matthew M. Graves
United States Attorncy

By: /s/ Andy Wang
Andy Wang
Assistant United States Attorney

 

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DEFENDANT’S ACCEPTANCE

I have read every page of this Agreement and have discussed it with my attorneys, Ubong
Akpan and/or Elizabeth Mullin. I fully understand this Agreement and agree to it without
reservation. I do this voluntarily and of my own free will, intending to be legally bound. No
threats have been made to me nor am I under the influence of anything that could impede my
ability to understand this Agreement fully. 1 am pleading guilty because I am in fact guilty of the
offense(s) identified in this Agreement.

I reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. I am satisfied with the legal services provided by my attorney in connection

‘with this Agreement and matters related to it.

Date: ) - [2Z- 23 Shull Lickblit

Sheldon Marbley
Defendant 7
ATTORNEY’S ACKNOWLEDGMENT

I have read every page of this Agreement, reviewed this Agreement with my client,
Sheldon Marbley, and fully discussed the provisions of this Agreement with my client. These
pages accurately and completely set forth the entire Agreement. | concur in my client’s desire to
plead guilty as set forth in this Agreement.

Date: 2 (L°L5 Ly/—-_
Ubong Akpan or Elizabeth Mullin
Attorney for Defendant

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